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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Don Lippert, et al.
                               Plaintiff,
v.                                                    Case No.: 1:10−cv−04603
                                                      Honorable Jorge L. Alonso
Partha Ghosh, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 11, 2018:


        MINUTE entry before the Honorable Jorge L. Alonso: Pretrial conference held.
Plaintiffs' motion for leave to withdraw the appearance of R. John Street [789] is granted.
Attorney R. John Street is given leave to withdraw as counsel for Plaintiffs. Plaintiffs'
motions for preliminary injunction [791] and to preclude opinion testimony from any of
Defendants' witnesses except Dr. Murray [793] are entered and continued to 12/18/18 at
10:30 a.m. Plaintiffs' motion for writs of habeas corpus ad testificandum [796] is denied as
moot. Status hearing set for 12/18/18 at 10:30 a.m. Notices mailed by judge's staff (ntf, )




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